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ELIZABETH A. STRANGE
First Assistant United States Attorney —
District of Arizona

KEVIN M. RAPP

Assistant U.S. Attorney

Ariz. Bar No. 014249

Two Renaissance Square

40 N. Central Avenue, Suite 1800
Phoenix, Arizona 85004- 4408

Telephone wor 514-7500
kevin.ra usdoj.gov
IN THE UNITED STATES DISTRICT COURT
' FOR THE DISTRICT OF ARIZONA

 

United States of America, MJ 18-8363
Plaintiff, | . UNITED STATES’ MOTION TO |
REVOKE RELEASE
v.

Thomas William Hancock,

Defendant.

 

 

 

INTRODUCTION AND SUMMARY OF ARGUMENT
The United States respectfully seeks a review of the Order releasing Defendant
Thomas William Hancock (“Hancock”) on a $50,000 bond issued by a Magistrate Judge
in the Central District of California. As explained below, Hancock poses a significant
risk of flight based on the nature of the charges, his history of drug and alcohol abuse,
his financial resources, his frequent international travels, and—perhaps most
important—he is not a citizen of the United States and has’ no economic or other

connections to the District of Arizona, or any other District for that matter. These.

' factors suggest that Hancock could easily flee the country and use his resources to live |

in the United Kingdom as a fugitive. Accordingly, his release on a $50,000 bond
should be revoked. . _ . .

 
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PROCEDURAL FACTS

On September 5, 2018, Hancock appeared in the Central District of California for
an arrest on a warrant from the District of Arizona. (Dkt. 3.) Pretrial Services recommended
that defendant be released on a $30,000 signature bond. The United States requested that
Hancock be detained pre-trial. (Dkt. 14.) The Court ordered defendant released on a
$100,000 appearance bond, to be signed by a responsible third party owning property with
equity of at least $100,000. (Dkt. 3.)

On September 11, 2018, the parties appeared for a status conference, during which
Hancock advised the Court that he would file a request for bail modification. (Dit. 8.) On
September 14, 2018, Hancock filed an application for review or reconsideration of the
order setting conditions of release and a request for hearing. (Dkt. 11.) Hancock proposed
that bail be modified to provide for a $45,000 signature bond secured by a $5,000 cash
deposit, and represented that the government “agreed” to those terms. (Dkt. 11.) The United

States clarified its position on September 18, 2018. (Dkt. 16) The United States informed

the Court that the charging district intends to move in the District of Arizona to revoke the
order denying the government’s request for pre-trial detention based on the charging
district’s determination that Hancock presents a significant risk of flight. Ud.) On
September 17, 2018, the Court approved the notice and set the matter for hearing on
September 19, 2018. (Dkt. 13.) On September 19, 2018, the Court granted Hancock’s.
release on a $50,000 appearance bond ($5,000 cash and $45,000 affidavit of Surety) (Dkt.

-17.) The Court granted a five day stay of that Order until September 25, 2018. (Id.) On

September 25, 2018 the United States filed a Motion to Revoke Release.
ARGUMENT
18 U.S.C. § 3145(a), which provides in material part:

(a ) ... Ifa person is ordered released by a magistrate judge, ..

(1) The attorney for the government may file, with the court having
jurisdiction over the offense, a motion for revocation of the order or
amendment of the conditions of release; and the motion shall be

determined promptly.

 
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The district court may hold an evidentiary hearing, under the applicable de novo without
deference review standard governing the Magistrate Judge's release order. United States .
v. Petersen, 557 F. Supp. 2d 1124 (E.D. Cal. 2008)

The Magistrate Judge's order is entitled to no deference, nor is the district court
required to adopt any factual findings made by the Magistrate Judge. United States v.
Koenig, 912 F.2d 1190, 1193 (1990); see also, U.S. v. McDavid, 2006 WL 734877
(E.D.Cal.2006), Hollows, M.J.-(“the district court's review of a magistrate [judge's]
detention order is to be conducted de novo without deference to the magistrate [judge's]
factual findings”).

As the Court is no doubt aware, “[t]he Bail Reform Act . .. requires a district court
to order a defendant detained pending trial if ‘no condition or combination of conditions

will reasonably assure the appearance of the person as required.’” United States v. Gentry,

.455 F. Supp. 2d 1018, 1019-20 (D. Ariz. 2006) (quoting 18 U.S.C. § 3142(e)). This

analysis involves a “two-step inquiry.” Jd. First, the Court must make a finding as to

whether the defendant presents a “serious risk that such person will flee” if not detained.

Id. at 1020 (quoting 18 U.S.C. § 3142(f)(2)(A)). The government bears the burden of

proving such risk of flight by a preponderance of the evidence. Id. Second, if the defendant
is likely to flee, the Court next must determine whether some set of conditions would
sufficiently vitiate that risk. Id. (citing 18 U.S.C: § 3 142(g)). “In making the determination
whether conditions exist that would reasonably assure a defendant’s appearance, Section
3 142(g) requires the district court to take into account four statutory factors: (1) the nature

and circumstances of the offense charged; (2) the weight of the evidence against the person;
(3) the history and characteristics of the person, including his character, physical and
mental condition, family ties, employment, financial resources, length of residence in the
community, community ties, past conduct, history relating to drug or alcohol abuse,

criminal history, and record concerning appearance at court proceedings; and (4) the nature.

 
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and seriousness of the danger to any person or community that would be posed by the
person’s release.” Id.

In addition to seeking detention based on the risk of flight, the United States also
may seek detention on the grounds that the defendant poses a risk of danger to the
community. The government bears the burden of proving such danger by clear and
convincing evidence. United States v. Hir, 517 F.3d 1081, 1086 (9th Cir. 2008) (“A finding
that a defendant is a danger to any other person or the community must be supported by
‘clear and convincing evidence.’”) (quoting 18 U.S.C. § 3142(f)(2)(B)).

A. Flight Risk

The Court should find, for several reasons, that Hancock’s release should be
revoked because he poses a significant risk of flight.

1. Nature And Circumstances Of Charged Offense.

Hancock is charged with a total of 36 felony crimes—specifically, nineteen
counts of wire fraud and seventeen counts of transactional money laundering. These
counts, standing alone, carry a statutory maximum penalty of 10 (18 U.S.C. 1957(a))
to 20 years (18 U.S.C. § 1343) in prison. Moreover, the financial loss associated with
his fraud (over a $1 million) carries a substantial guideline range taking into account
several increases for applicable offense characteristics (sophisticated scheme, abuse of
private trust, etc.). Sec. U.S.S.G. §§2B1.1(b)(10)(C) and 3B1.3. If convicted of all (or
even a portion of) these charges, Hancock faces a considerable prison sentence. Such
exposure creates a powerful incentive to flee. See, e.g., United States v. Townsend,
897 F.2d 989, 995 (9th Cir. 1990) (“Facing the much graver penalties possible under
the present indictment, the defendants have an even greater incentive to consider
flight.”); United States v. Anderson, 384 F. Supp. 2d 32, 35 (D.D.C. 2005) (ordering
pretrial detention in white collar case, even though the defendant had no prior felony
convictions and “no history of violent criminal activity,” in part because “[t]he

combined statutory maximum penalties for the federal crimes with which Mr.

 
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Anderson is charged is 23 years.... At 51 years old, Mr. Anderson potentially could
spend most of the remainder of his life in prison if convicted.”).
2. Strength of the Evidence. .
- The strength of the evidence also supports a flight-risk finding. As an initial
matter, the fact that a Magistrate Judge has made a finding of probable cause is enough

‘to meet the government’s initial burden as to the strength-of-the-evidence factor. See,

e.g., United States v. Hamlin, 2007 WL 2225868, *1 (E.D. Mich. 2007) (“Under
subsection (g) (2), from the a grand jury having passed an Indictment, there is a definite
weight of evidence against the Defendant.’’); United States v. Bradshaw, 2000 WL.
1371517, *4 (D. Kan. 2000) (“[T]he grand jury’s indictment, standing alone,
establishes probable cause for purposes of the Bail Reform Act.”). .

In addition, the complaint in this case sets forth, in detail, some of the evidence
supporting the charges against Hancock, including incriminating emails and texts that

Hancock wrote admitting criminal activity. (See Complaint) Lastly, following his arrest

‘Hancock admitted his theft in a recorded interview with investigating agents.

3. Defendant’s History and Characteristics.
Hancock’s history and characteristics also support a flight-risk finding. He is a
citizen of the United Kingdom with no community and family ties in the District of

Arizona or any state in the United States, for that matter. (See Exh. A; Declaration of

_FBI Special Agent Heather Rivera (“Decl.”).) Hancock, based on his income for the last
‘several years, could have access to significant amounts of money, including money in

- foreign bank accounts that might allow him to flee. (/d.)

In sum, Hancock has the financial ability to allow him to successfully escape

prosecution. See, e.g., Anderson, 384 F. Supp. 2d at 36 (“Anderson appears to have the

ability not only to flee the District of Columbia and the United States without detection,
but also to live comfortably and evade capture in foreign jurisdictions. Mr. Anderson has
traveled extensively, . . . has numerous international personal and business contacts, . . .

[and] appears to have access to substantial assets overseas.”).

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Hancock also engages in frequent foreign travel. He visited the United Kingdom as
recently as August 12, 2018. He flew from John F. Kennedy International Airport (JFK)
to Los Angeles International Airport (LAX) on September 4, 2018, flight DL 424 with a
10:05 am arrival time, and was arrested upon disembarking. Travel records show that
Hancock was scheduled to fly from London Heathrow Intemational Airport to Sharm El
Sheikh International Airport, by way of Cairo International Airport on October 1, 2018.

_ (See Decl. { 20.) Foreign connections, coupled with access to foreign funds, suggest an

ability “to live comfortably” abroad, a consideration that supports a flight-risk finding. See,

e.g., United States v. Hong. Vo, 978 F.Supp.2d Al, 45 (D.D.C. 2013) (“Vo’s access to

substantial assets overseas, combined with her experience living in Vietnam for the past

two years, . . . demonstrate her ability not only to flee . . . the United States .. . but also to
live comfortably and evade capture in foreign jurisdictions.”) (internal quotation marks
omitted); United States v. Saani, 557 F. Supp. 2d 97, 98-99 (D.D.C. 2008) (“Defendant’s

alleged access to funds in foreign bank accounts, and Defendant’s alleged purposeful and |
illegal concealment of that access, is directly relevant to Defendant’s flight risk.”).

4. Danger To Himself and Others.

The United States also harbors concerns that Hancock could, if released without
conditions, pose a danger to himself and others. The Complaint and Declaration
references emails and texts authored by Hancock where he indicates suicidal ideation
and the use of drugs and alcohol. (See Decl. Js 14-16.) While he employed he exhibited
erratic behavior that resulted in the termination of his employment (/d at { 6.)While -
remaining in custody Hancock should be screened for mental health and substance
abuse counseling.

~ CONCLUSION

In sum, Hancock poses a serious risk of flight due to the severity of the charges (and
penalties) he faces, his extensive foreign connections, citizenship in a foreign country and
not a citizen of the United. States, lack of significant community ties to any state in the

United States, potential financial resources and mental health and substance abuse issues.

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Although Hancock will presumably argue that he knew he could be under criminal
investigation for theft, the risk is minimal given that he did not flee, “a pre-indictment
investigation and a post-indictment trial are two very different things.” Anderson, 384 F.
Supp. 2d at 40 (“The defense has emphasized . . . that Mr. Anderson has left the country
and returned many times during the pendency of the government's investigation into his
business and investment activities. His willingness to remain in and repeatedly return to
the United States despite the risk of indictment, the defense argues, indicates that Mr.
Anderson wishes to remain here to defend his good name and reputation against attack in
the criminal proceeding, even if it means, ultimately, risking his freedom. The Court does
not find this argument convincing. ... [A] pre-indictment investigation and a post-_
indictment trial are two very different things.”).

In sum, although any one of the above-enumerated factors standing by itself may not
amount to sufficient evidence of risk of flight to warrant detention, when taken
cummulatively and in conjunction with the offenses charged and the weight of the evidence
against Hancock, the Court should find that these indicia of transient living, lack of

employment, a citizen of another rountry, substance abuse issues raise serious risk-of-flight

concerns. Hancock’s order of release, should, therefore, be revoked.

Respectfully submitted this 25th day of September 2018.

ELIZABETH A. STRANGE
First Assistant United States Attorney
District of Arizona

s/ Kevin Rapp
KEVIN M. RAPP
Assistant U.S. Attorney

 
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CERTIF ICATE OF SERVICE

I hereby certify that on September 25, 2018, I filed the attached document to the |
Clerk’s Office at the U.S. District Courthouse.

I further certify that on this same date, I served the attached document via electronic
mail on the following:

Jonathan M. Lynn

‘Wallin & Klarich

Email: jml@wklaw.com

s/Sally Hawley
U.S. Attorney’s Office

 
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Exhibit A
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Declaration of Special Agent Heather Rivera.

- I, Special Agent Heather Rivera, declare:

1. I have been employed as a Special Agent of the FBI since May 2012. I obtained a.
Bachelor of Science in Accounting from Northern Arizona University followed by a
Master of Business Administration from the University of Arizona. Prior to my
employment with the FBI, I was a Vice-President in Enterprise Risk Management for
State Street Corporation in Boston, Massachusetts. I was responsible for compliance
with Basel II, a federal regulation dictating capital management for core banks in the
United States. Before State Street Corporation, I was a consultant for a global
consulting firm and spent nine years as a staff accountant and auditor for both private
and public entities. I am presently assigned to the FBI’s Phoenix Division where I
imvestigate Complex Financial Crimes. Over the past 5 years, I have worked on white
collar crime investigations including, but not limited to, cases involving allegation of
bankruptcy fraud, wire fraud, money laundering, securities fraud and health care fraud.
Lhave gained experience in conducting such investigations through formal training and
on-the-job training, as well as consultation with more experienced agents. During the
course of my career, I have participated in the execution of numerous search warrants,
seizure warrants, arrests and trials of individuals for violations of federal law. I have
participated extensively in the investigation leading up to the complaint in United

States v. Thomas William Hancock.

2. This declaration is submitted in support of the government's request for pretrial

detention of defendant Thomas William Hancock (Hancock). If called upon, I could

competently testify as set forth below:
Introduction

3. The following is information based on my personal observations, the observations of
other federal and state law enforcement agents and a review of records and evidence —

during the course of the investigation.
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_ Employment and Finances

4. Hancock has significant employment earnings allowing him to travel and live within
the United States or abroad. W-2 earnings reported in the State of Arizona for Hancock

were as follows:

 

Year | Wages

 

 

 

 

 

 

 

2015| $ 184,656
2016 | $ 242,566
2017 | $ 868,516
2018 | $ 326,221

 

5. London Trust Media, Inc. (LTM) is an internet privacy and security company located
in Denver, Colorado’ founded by Andrew Lee (Lee). In November 2017, LTM hired
Hancock as Chief Technology Officer. Hancock moved from Atlanta to Las Vegas

where Lee resided. While in-Las Vegas, Hancock worked closely with Lee and quickly
gained Lee’s trust. In December 2017, Hancock was promoted to Executive Chairman
where he was given large amounts of authority in the company. Hancock spent a
considerable amount of his time in Scottsdale, Arizona as UK2 Group hada large server
“farm” located in Arizona.

6. Hancock was fired in March 2018 for frequently not showing up to work, showing up —
to work late or erratic behavior. Lee and Hancock spoke several times and Lee felt that
Hancock deserved another chance. Lee then hired Hancock back as Executive
Chairman of LTM, however, Hancock's behavior did not change. He was terminated
again in June 2018.

_ 7, After Hancock’s termination, it was discovered by LTM that during Hancock’s

employment with LTM, he prepared fraudulent invoices in Freshbooks software for the

vendors Digital Chaos and Hosting Services. Freshbooks is an online accounting and
invoicing company aimed at allowing small business owners access to quickly create

and send invoices as well as receive notifications when invoices are paid. Hancock
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created an account with Freshbooks under the email address

TomHancock91@gmail.com.

. The fraudulent invoices submitted to LTM included payment processing information
on the invoices. Hancock would then have the Freshbooks software email the invoice
directly to LTM’s accounts payable department or to Hancock’s LTM email address.
These emails would then be forwarded by Hancock to LTM’s accounts payable
department. After the accounts payable department received the invoice for Digital
Chaos and Hosting Services, Hancock would verbally communicate his approval to pay

the invoice. LTM pays all of the vendor invoices on a company credit card.

. The following fraudulent invoices for Digital Chaos and Hosting Services were

submitted to LTM for processing:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Invoice
Date Issued Number Payee Amount
02/01/2018 . 29 HS $54,923.54
02/01/2018 29 DC $15,000.00
03/01/2018 48 DC $48,000.00
04/01/2018 47 HS $63,000.00
04/01/2018 47 DC $15,000.00
04/13/2018 52 HS $85,500.00
04/17/2018 53 HS $53,458.00
04/18/2018 54 HS $24,850.00
04/23/2018 59 HS $17,320.22
04/24/2018 60 HS $69,122.00
04/24/2018 61 HS $30,541.50
04/30/2018 62 HS $7,832.11
05/01/2018 64 HS $199,195.00
05/01/2018 61 HS $52,000.00
05/01/2018 61 DC $30,000.00
05/09/2018 67 HS $63,200.00
05/16/2018 69 HS $52,100.00
05/22/2018 70 HS $28,200.00
05/30/2018 72 HS $8,520.25
Total $917,762.62

 
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* 10.On or about, June ‘29, 2018, in a series of text messages, Hancock texted Lee and
admitted to creating false invoices to facilitate the theft of approximately $800,000 to
$900,000. Hancock further stated to not knowing exactly how much he stole and that it
could be a higher amount (See Exhibit 1).

11.Recently, Hancock’s American Express card was suspended and as of July 13, 2018,
his account balance was more than $4.2 million. After the suspension of his
American Express account, Hancock began to use funds from his accounts at Chase
Bank. On July 24, 2018, Hancock withdrew $40,000.00, from the Chase Bank branch
at 7th St. and Glendale Ave. Hancock attempted to make a merchant payment for a
greater amount than what was available in the account, prompting Chase Bank to
close his accounts. When the accounts were closed, Chase Bank issued two Cashier’s
Checks: 1) Payable to Krystal Hancock in the amount of $74,619.71; and 2) Payable
to Thomas Hancock in the amount of $40,779.65. Chase bank located the two
Cashier’s Checks issued to Krystal Hancock and Thomas Hancock but there was no

markings on the back to indicate a financial institution where the cashier’s checks |

were negotiated, only signatures.
Hancock Associates |

12.On June 28, 2018, LTM employee Jorge Oliveria was at the nightclub, Bottled Blonde,
located in Scottsdale, AZ. Hancock was also in attendance at Bottled Blonde and
approached Oliveria and initiated a conversation. During this conversation, Hancock
confessed he stole money from LTM via the creation of fake invoices. Oliveria advised
Hancock to contact LTM and return the stolen funds.

13.On June 28, 2018 Rozaline Katherine Voges (Voges), an ex-girlfriend of Hancock,
called Robert Gubko (Gubko), bodyguard for Lee. Voges stated she found Gubko’s .
phone number in Hancock’s cell phone and advised Gubko that Hancock had stolen
money from LTM and was spending tens of thousands of dollars per day. Voges also

advised Gubko that Hancock had a ledger of the fraudulent activity in addition to fake

invoices utilized during theft.
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Hancock’s Mental Health

14. Scottsdale Police Department responded to Hancock’s residence or a neighboring area
in Scottsdale, AZ on March 10, 2018, June 26, 2018, June 27, 2018 and June 29, 2018
after it was reported Hancock was making suicidal threats or suggestions via text and
posts on Instagram and F acebook. Of note, every incident reported was by a different
friend or acquaintance of Hancock’s. When interviewed by officers, Hancock denied
that he was going to hurt himself. No further action was taken by Scottsdale Police
Department based on their conversation with Hancock.

15.On August 2, 2018, Hancock sent an email to Lee stating he is trying to “find a way to
start paying back the owed money” and is bankrupt. (See Exhibit 2) Hancock states that
he is fighting a lawsuit in Scottsdale, AZ and that Arizona is “full of drug ridden,
suicidal thoughts” for him and he was “using drugs and even alcohol to cope with the
thought of this”. .

16.0n August 6, 2018, Hancock sent an email to Lee stating the following: “I plan on
moving to LA immediately, and getting away from this mess here in Scottsdale. I have
‘friends in LA who I have known for many years, way before Scottsdale, who can help
me out of this mess and I can easily work from there. I am trying to find out what long
term medical help I need for my disorders as well, not just short term. I am looking in

LA.” (See Exhibit 3.)
Out of State Travel and Connections

17.Hancock no longer has significant ties to Arizona or the United States: Hancock
divorced his wife, Krystal Cooper Hancock, in 2012. Hancock does not have any
children. Hancock has no known relatives in the United States and his mother currently
resides in the UK.

18. Hancock has no known real property in the United States.

19. Hancock is a citizen of the Great Britain. and Northern Ireland where he studied.
Theoretical Physics. Hancock holds a valid passport issued on January 1, 2014. From
January 2017 to the present, Hancock departed or arrived to the United States from
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. international flights on 34 separate occasions. On August 12, 2018, Hancock departed
the United States and flew to London (by way of Amsterdam). On August 20, 2018,
Hancock returned to the United States, landing at Los Angeles International Airport.

20. Hancock is scheduled to fly from John F. Kennedy International Airport (JFK) to Los
Angeles International Airport (LAX) on September 4, 2018, flight DL 424 with a 10:05
am arrival time. Travel records show that Hancock is scheduled to fly from London
Heathrow International Airport to Sharm El Sheikh International Airport, by way of
Cairo International Airport on October 1, 2018.

. Conclusion .
21.Hancock is a citizen of Great Britain and Northern Ireland (GRBR) and engages in a
significant amount of international travel. Hancock has no economic ties to Arizona
nor does he have familial ties to Arizona or the United States. Hancock is close with
his mother who resides in the UK. He is exposed to serving prison time for the charges
detailed in the complaint. In sum, Hancock has the means and motivation to flee the

United States.
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I declare under penalty of perjury that the forgoing is true and correct to the best of my
knowledge and belief. Executed this 31% day of August, 2018 in Phoenix, AZ.

Special Agent Heather Rivera

Federal Bureau of Investigation
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Exhibit |

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better protections against
this in future.

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services’

One under digitalchaos

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them in a misleading
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Tom

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Last year your server bills
averaged 600k

 

Those same servers we
got down to 385 or so

And | was stealing the
rest.

Because | wanted to be
the coolest kid on the
block

| knew | could fuck with
the server number easy.

| Know you guys have the
fbi looking at me

Quite rightly btw

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_ fucked up.

| know for sure

I <oeeee) maale)ic ita

Not

 

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Exhibit 2

Fwd: Payment and note

wanna n-n=- Forwarded message ---------

From: Andrew Lee <alee@londontrustmedia.com>

Date: Thu, Aug 2, 2018 at 11:30 AM

Subject: Fwd: Payment and note

To: Young Park <y.park@londontrustmedia.com>, Ted Kim
<ted@londontrustmedia.com>, John Arsenault
<john@londontrustmedia.com>, AlexLee
<alex@londontrustmedia.com>

---~------ Forwarded message ----------

From: Thomas Hancock <tomhancock91@googlemail. com>

Date: Thu, Aug 2, 2018 at 11:25 AM

Subject: Payment and note

To: Andrew Lee <alee@londontrustmedia.com>, Andrew Lee
<andrew@londontrustmedia.com>

Hi Andrew,

As per our chat on Telegram, you asked me to go find a way to start
paying back the owed money.

| have found 2.5k so far - which is not a lot but it is something and the
maximum | can get right now that | am bankrupt. My parents don’t
have money or credit lines to get. My only option is what | have been
pursuing hard since we talked - getting back into work - which | can do
after my trustee meeting for bankruptcy. | have found a few high
paying oppurtunities - which means | can get a loan against that
income - and | can guarantee you as a loan note equity upon a
transaction of the business. And anything else you want. | don’t care
at this point other than to pay back what | owe to the people | owe.
That's the best idea | have. | have been in LA for 9 days doing normal -
things while I pursue a hosting job. | have asked for a signing bonus
with a few - which I will pass on. | have been using my airmiles to stay
and living off my moms card. My mom has been in LA and Arizona
with me. We are still going through all the bankruptcy elements with
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the lawyer as we prepare for the trustee meeting. AMEX took my side
on all the nightclub charges we talked about and you seen - the same
account has no balance now, even before the bankruptcy.

| do see as | explained how the process was working there is some
disputes card wise - Chase already closed my bank where the money
was going too (Chase) - the disputes |.guess will fail because that
account doesn’t even exist anymore due to Chase closing it. | guess
we can figure this out between us. I’m not sure the disputes will
provide fruitful other then me going down a long path where there is
still no money available. | know you do not want to see my behind
bars and | want to figure this out.

ve just now got a new cell phone plan using an nvmo (!) so I’m easily
reachable again.... and | still have my Telegram.

Clearly | fucked up, | am trying to recover myself out of a horrible
place, | was evil, | was wicked and maybe we can work something
out....1 want to rebuild my life.... | even refuse to go back to Scottsdale
even for lawyer... | have a call at 2pm with the Arizona lawyer...
Arizona is full of drug ridden, suicidal thoughts for me. My mom is
there in my apartment now. | am also fighting a suit in AZ. What a
mess ive made.

Let me try and fix this, | will clearly be paying it back for a long time
and perhaps we can add some interest to it and some other stuff as |
truly owe you and clearly it is all messed up but | do not want to serve
wasted time, | would rather try and help you in other ways and pay
you the money back. | will disclose any information you may wish for
like | was before. | know you said you didn’t want me to go behind
bars and I hope | can figure this out with you, because | know we can.
| also hope in July and August and beyond you start seeing the server
savings that were true. There is a lot, and | am happy you will see
that. Even with the addition of things like Rescloud, Dubai servers etc
into that financial line item there will still be savings that will be true
cash, that is no means of a justification just something | can say | at
least did, while also being deceptive in doing so, which is disgusting. |
would get a fact check on this but it’s even in my tom@ email in one of
the spreadsheets the like for like savings compared to before we
added new locations, Rescloud, etc.

| know | created problems which still probably exist and are being
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cleaned up but I know you guys are better off without myself and that
is just a wicked truth to myself.

| hope you are well and be team is, | can not do any employment or
anything useful till my bankruptcy trustee meeting, so if | can be of any
use, unpaid and just observatory, | will happily do so. Even if it just
means working on VP in the background or any advice you might find
useful in how to fill some of the holes | was able to use, and some |
seen glaring at me which | have fixed before. Clearly the team hates
me or hates what | did - so | do not want to rock a boat per se, | am
recovering with my mother here in the US, some friends who are not
from the mess of drinking in Scottsdale, | was using drugs and even
alcohol to cope with the thought of this even until my mother got here.
| still have 2.5% of DigitalChaos unsigned for equity wise - you should
just take it - it is not part of the bankruptcy as it is unsigned for - that
business will be worth something nice at some point, it is also backed
and has Greg, the football guy as part of it - I’m sure you owning part
of that could get you endless benefits.

Sucks but with some stabilizing | am getting better and want to fix
everything - like you said to me - everything can be fixed and | want to
fix it.

One day we will be able to laugh again, | hope.

With regret | send you this mail, again | am sorry. I am on Telegram if
you want to quick talk.

I'm sure some of this mail is muddled thought wise - but that’s just
how | am right now as | recover. Thanks for even reaching out to me

- late June, early July and a week ago. | appreciate you talking to me.

_ You were a true friend, and | was a true dick, with evil features. So
disgusting on my side. | am trying to recover, | ask that we work -
something out, and make it very favorable to yourself and the
business. | owe you everything. -

_ Tom

Andrew Lee
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Exhibit 3

Hi Andrew,

| know this is going to be a bit of a long email and you are probably
sick and tired of hearing about all ofthis but | am trying to find a way
back for all of this. .

Congrats on the handshake announcement, | still read blockexplorer!
Is Rick still with you guys? | seen his name still here:
htips://blockexplorer.com/news/team/. Also congrats on the Business
VPN. :

| am back in Phoenix with my mom and have been since | got back
from LA on Friday, dealing with this shitty lawsuit, in good news | have
- several job offers which | have found since we talked about finding |
money which | can definitely find a chunk of equity as well as ongoing
salary garnishing to pay you back, as well as get a loan from someone
like SoFi against, it is truly the only way | can get money, with
immediate effect | really want to pay you back and get on with my life,
| regret everything, | regret the substance abuse and | regret fucking

_ up my life, and all the relationships | made over 10 years, which are
now buried, for greed and attention. .

Obviously | know about everything that is circulating - people in the
‘hosting industry are worried about me and want to see my back on
track while fixing my issues. They are all telling me - | know | have
fucked everything up.

As | mentioned previously, | want to put my life back on track, | have

~ found clarity when | was in LA for the last.9 days, | found what normal
was again, normal people to be around and socialize with, be with, no
drugs, etc. Feels good to get this element of my life back on track, .

‘ while dealing with the damn mess I've created.
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| know | was a super talent in hosting at a young age, | truly think (and
maybe | am wrong) - but in bare metal - | still think even 8 years on,
100TB was the last thing to change the bare metal industry, and | got
myself so far away from it, | also-found myself totally useless at LTM,
because of my lack of skill in anything other than hosting.-Then stupid,
vicious, evil shit started.

_ | would love to meet with you primarily or Ted or someone to sort this
_ all out fast, so | can get back to paying you & LTM back and working
-on my life.

| am happy to share my offers | have and how | think I can help you. | -
know everything sucks right now, even for you probably having to deal
with all of this shit. | do not want you or me to have to serve this rock
bottom, | want to just get out of it, | know you do not want to see me
behind metal as we talked about, so | am trying to get my life back to
normal. All offers are > $300K OTE and have equity so far; some with
varying roles. | am so open to anything because | know you can not
delete the past but nothing isn't solvable as you have thankfully told
me. | am still sourcing offers as all of them have yet to come in, 90%
are in the hosting industry re: servers, some are not.

From 17 -> 26 | was able to earn over ~$3.5m. including the
transaction

-money and | have made endless amounts of money for the majority
owners of 100TB/UK2group, etc and | know | can pay you back in
good time, while | do have friends who have money it does not mean
they are willing to help | have learned. | know this issue sucks just as
much for the team. | truly need a second chance in life and | know you
said after | got help we could talk about this, | have been truthful and
honest since we talked first and want to sort this out. '

| have a few offers, some of which could be just beyond monetary
payback and | have been working out the fine details since we talked
about finding money on Telegram. | do see the disputes obviously and
| have till Aug 11" to sort out a plan, which is when the dispute
resolution needs to be sorted by.
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| have told many tales, | have said many things, | have hurt many
people and things and it all has to come to an end and it has, | have to
get myself back on track, | am still with my mom. You have no reason —
to give mea chance, | keep reading your second chance post about —
Mark and keep reading your IRC.com post as well as trying to find any
movie or anime that finds me relief in what | do. | know there is people
watching me, | know | will be watched but | also know you reached out
for a reason, you are one who for whatever reason, tries to give
people a chance. | know | did good way back with 100TB, | know | can
do good and | know | truly fucked up. | am not sure what state of evil |
went into but | did. Ego, greed, money, girls, fool, lazy, manipulation,

all came before me.

| will give you anything | have today, TVs, etc, | do not have a car
because my ex-wife took it because | could not make the payments on :
the car due to no money left in my life to pay for it, | overdrafted her.
badly as she was still linked to my account since the day of the

divorce.

_ | probably owe $1-1.2m? Not sure on the exact amount. | would like to
pay you a larger amount we can decide on than what | owe, it is quite
right and it will make me feel better.

T have some offers which can both benefit you immediately as well as,
| truly hope we can do one of these:

| can pay you $3k immediately now I can pay you whatever signing
bonus | get | can pay $3.5K/mo from salary at current salary rates,
and maybe for every 10K/yr raise | get, | can pay another X/mo?

Our of the 2018 annual bonus | get, | will pay 80% of it after tax to you
Out of the quarterly bonuses in 2019 and beyond, | will pay 80% of
them to you | can sign away my equity in an agreement with yourself

_ for any business | work in, until the amount is hit | can give you my
unsigned 2.5% of DigitalChaos (I suspect this business is worth > 4m
< 15m based on esports valuations right now) | will happily help —
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VP.net in any role | go into, as | believe you guys have the ability to
build a giant hosting reseller to destroy all hosting

resellers, | think Shiv and team dictating the pricing so high has its ups
and downs as well, the new businesses | am looking at are hosting
businesses of size which could help you. | will find more sponsors for
LFA (that turn out to be good) over time, from the sidelines | will
advise you on PIA/LTM hosting from the sidelines, with no authority
(“see below (Appendix A)* for the calculations you asked me to prove
to you), | have lots of thoughts on what you could build yourselves,
why, why VP.net could benefit, why PIA could benefit, and how you
could leverage right now the bandwidth pricing at a wholesale level, it |
is truly a reason someone would buy a business today (the pricing we
were offered was truly damn crazy). People would also pay to piggy
back on that pricing we were offered. | will pay you back your money +
25% (or whatever you decide is OK)

Maybe the large hosting company | take part in can take a portion of
VP.net, or some calculation where you can save money, build value,
and this pays back somehow, upon cash generation? | think you guys
+ Shiv guys + a hosting company (who could run everything) would
make a killer team and be able to generate say $70/mo per server and
sell 20K servers ($1.4m before costs) - or ~17m/yr, is not so hard. You
could build a hosting company worth > $250m in short time, if you feel
20K servers and $70/mo in gross margin is achievable. Divide by
through any number for whatever you think is achievable. Even if you
divide by 3, which is definitely attainable, you have a nice server
operation, where you could either raise money, sell it, or acquire every
other reseller, and make a mega reseller. More than likely you will
take all their clients before that is necessary though. A hosting
business worth $20m is however, very attainable, and | am happy to
work on it until | go into employment. | am more than happy to do it
from the sidelines as | know the team, quite rightly, despises me.

| am sure you guys are all having a good laugh at me from the other
side, and it sucks to be in the position | am in but | am offering
everything | can so | can get my life back to where it needs to be.
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Tomorrow | will be in LA again, for a few days, | can be in LA or Vegas
later in the week. | would love to meet and 1) get this resolved, 2)
work on building back something | have ruined, it is going to take a
long time again but | am sentimental harmless person now and | truly
have to be the most honest person going forward, quite the feat, |
know, but | have no choice. —

| plan on moving to LA immediately, and getting away from this mess
here in Scottsdale. | have friends in LA who I have known for many
years, way before Scottsdale, who can help me out of this mess and |
can easily work from there. | am trying to find out what long term
medical help | need for my disorders as well, not just short term. | am
looking in LA.

| Know | have fucked up a lot of relationships, a lot of friends and it is
going to take time to rebuild everything | have burned. | fucked over
the two businesses | founded after leaving them for something else —
truly tucked up.

| hope we can talk and.meet to resolve this massive fuck up. | am
scared to reach out on Telegram for some reason, | am just scared in
general and | want to fix it all. It is now my time to do something

- useful. For clarity, | would love to try and make it work at LTM again,
but | am not sure that is what anyone would want. | also myself do not ‘
think Vegas would be good for me again. That is not concrete but |
suspect me being in LA in another business, and providing any benefit
| have for free, while paying back, and maybe working on a VP.net
venture together, would be better and be able to make LTM many
millions, as well as me paying back. Nothing would make me

happier than doing that. | do not think | am useful as an exec in
anything other than a hosting business, | think that is clear. | tried,
failed.

_ Sorry again,

| hope we can even chat. on Telegram,

You were so forgiving to reach out to me after that night | seen Jorge,
| hope we can talk like that on Telegram, even with the shit you are
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Clearly going through with this.
Tom

-*Appendix A - server savings - proof you asked for - you can get
someone to

verify your side*

https://docs.google. com/spreadsheets/d/1 AdLy3ehUEYN3ahV6yjlQCh
—1IP1psigy CSoAWE3h7gMU/edit#gid=0
(made it link view able)

US California $15,687.00

_ US East $38,800.00 | think you could save $6500/mo here
US Midwest $18,300.00 | think you could save another $3500/mo here
US Chicago $12,075.00 You can save here about $2k/mo -
US Dallas $17,800.00 You could save $3000/mo here »

US Florida $10,100.00 | think you could save $2000/mo here

US Seattle $10,098.00 One of these two locations is cheaper than this
amount .
US West $8,217. 00 One of these two locations is cheaper than this
amount -

you could save $2000/mo here

US Sillicon Valley $11,800.00

US New York City $12,800.00 | think you could save here if you
wanted -

UK London $8,300.00

UK Southhampton $4,740.00

CA Toronto $11,250.00

CA Montreal $6,300.00

CA Vancouver $4,554.00 ~

AU Sydney $24,720.00

_ AU Melbourne $19,270.00

Frankfurt $3,320.00

New Zealand $6,720.00

Netherlands $37,812.00

Sweden $4,080.00

Norway $1,660.00
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~ Denmark $2,158.00
Finland $6,210.00
Switzerland $3,320.00
Paris $3,984.00
Austria $1,411.00 | think this was a new location but | am including it
Ireland $2,945.00
Italy $1,079.00
Romania $1,328.00
Turkey $1,472.50
Hong Kong $3,184.00
_ Singapore $4,225.00
Japan $3,984.00
Israel $3,600.00
Mexico $6,567.00
Brazil $8,450.00
India $4,500.00 -
Slack $2,000.00
Internal Colo $4,000.00 I truly hope the guys migrated to the US East
and
West owned boxes
-LogicWeb $12,000.00 We got this down from $24K/mo IIRC
New Relic $9,900.00
DYN & Akamai $5,500.00
Other (domains etc) $7,500.00
Total (New) $387,720.50
Linode savings | forget
_ Further savings | think you could make
2017 Average $605,000.00 Per month
Like for like 2018 (from July onwards) $387,720.50 Per month
Savings like for like $217,279.50 Per month - this is the number that |
always referenced - and per above it is correct, clearly | was using this
as the anchor for money out, as | mentioned on Telegram
Further savings like for like you could make $31,000.00 per month -
Total like for like savings $248,279.50 per month
Add in new added services (see below) $117,457.00 per month
New cost per month (should be actual from July/August) $505,177.50
permonth _
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Savings with new services added back in $99,822.50 per month
New Services (I think these should be reviewed all for value so far)
US WDC $3,762.00 _

US Las Vegas $2,400.00

US Houston $2,800.00

US Denver $3,420.00

UK Manchester $2,380.00 —

DE Berlin $1,700.00

Belgium $1,275.00

Spain $1,020.00 ©

Hungary $850.00

Poland $850.00 -

~ Dubai (UAE) $9,000.00 Forget exact

South Africa $9,000.00 Forget exact —

Rescloud $79,000.00 | truly hope this is working out for you guys
Total New Services $117,457.00

There was still random shit inside PIA accounts that needs splitting
out

Arch Linux boxes you sponsored - it is a good amount

Regions | think you could add/try

US Barcelona M247

Things you should do - total about $32k/mo

US East cost savings |

US Midwest cost savings

LogicWeb cost savings (you could just get IPs from a new web host
you

use... and make it part of the terms)...

US Chicago savings

US Dallas savings

US Florida savings

US New York City savings

US West savings

“With all of this done, you could be, with new services included, at
savings of $131822. 5/mo* .
